Case 20-10553-CSS Doc408 Filed 05/01/20 Page 1 of 2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

)
Tn re: ) Chapter 7

)
ART VAN FURNITURE, LLC, e¢ al.,' ) Case No. 20-10553 (CSS)

)
Debtors. } Gointhy Administered)

)

 

ORDER GRANTING
MOTION TO SHORTEN NOTICE PERIOD AND SCHEDULE EXPEDITED
HEARING ON MOTION OF ALFRED T. GIULIANO,

CHAPTER 7 TRUSTEE, PURSUANT TO SECTIONS 105, 363, AND 365 OF THE
BANKRUPTCY CODE, BANKRUPTCY RULES 2002, 6004, AND 6006, AND LOCAL
RULE 6004-1, FOR ENTRY OF AN ORDER AUTHORIZING (ID SALE OF
PURCHASED ASSETS TO U.S. REALTY ACQUISITIONS, L.L.C, FREE AND CLEAR
OF LIENS, CLAIMS, AND ENCUMBRANCES AND (II) REJECTION OF CERTAIN
UNEXPIRED LEASES OF NONRESIDENTIAL REAL PROPERTY

Upon consideration of the motion (the “Motion to Shorten”) for entry of an order
shortening the notice period and scheduling an expedited hearing on the Motion of Alfred T.
Giuliano, Chapter 7 Trustee, Pursuant to Section 105, 363, and 365 of the Bankruptcy Code,
Bankruptcy Rules 2002, 6004, and 6006, and Local Rule 6004-1, for Entry of an Order
| Authorizing (2) Sale of Purchased Assets to U.S. Realty Acquisitions, L.L.C. Free and Clear of
Liens, Claims and Encumbrances and (11) Rejection of Certain Unexpired Leases of
Nonresidential Real Property (the “Motion’”) filed by Alfred T. Giuliano, chapter 7 trustee (the

Trustee”) to the estates of the above-captioned debtors (the “Debtors’’); and the Court having

 

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (02913; AVCE, LLC (2509); AVF
Holdings 1, LLC (2537); AVF Holdings i, LLC (7472), AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art
Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Tracking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the Debtors’
service address in these chapter 11] cases is: 6500 East 14 Mile Road, Warren Michigan 48092,

* Capitalized terms not defined herein shall have the meanings attributed in the Motion to Shorten or the Motion, as
applicable.

DOCS_DE:228464.1

 
Case 20-10553-CSS Doc408 Filed 05/01/20 Page 2 of 2

determined after due deliberation that the legal and factual bases set forth in the Motion to
Shorten establish just cause for the relief granted herein; and the Court finding that (a) the Court
has jurisdiction for a hearing pursuant to 28 U.S.C. §§ 157 and 1334, (b) the Motion to Shorten is
a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and (c) venue is proper pursuant to 28
U.S.C. §§ 1408 and 1409; and notice of the Motion to Shorten being adequate and sufficient; and
after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

1. The Motion to Shorten is GRANTED as set forth herein.

2, A hearing to consider the relief requested in the Motion shall be held on

Moy S ___, 2020, at fe eo OO 4 .m. (prevailing Eastern time) (the “Hearing”).

3. Any objections or responses to the relief requested in the Motion are due at the
Hearing.
4. Immediately after the entry of this Order, counsel for the Trustee shall serve a

copy of this Order and notice of the Motion on parties originally served with the Motion to
Shorten and the Motion in the manner described in the Motion to Shorten,
5, This Court shall retain jurisdiction with respect to all matters arising from or

related to the interpretation and enforcement of this Order.

SIYZ0 ('¢4 4 er

DOCS_DE:228464. i
